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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                              Case Number 20-20538
v.                                                             Honorable David M. Lawson

MATTHEW DARREL CHILDERS,

                  Defendant.
________________________________________/

                     ORDER ADJOURNING TRIAL AND EXCLUDING
                        TIME UNDER THE SPEEDY TRIAL ACT

       On September 8, 2022, the Court held a status conference with the defendant and counsel

for the parties to discuss their stipulation to continue the presently scheduled motion cut-off, plea

cut-off, pretrial conference, and trial dates. The defendant recently obtained new counsel, who

needs time to review the voluminous discovery material in this case and determine whether any

pretrial motions should be filed. Proper trial preparation, which includes obtaining and evaluating

all information bearing on the defendant’s decision to file motions, plead guilty, or proceed to trial,

is necessary to provide constitutionally adequate representation. The Court therefore will continue

the motion filing and plea deadlines and adjourn the final pretrial conference and trial for the

reasons stated on the record.

       The Court finds that the parties have shown good cause for the stipulated adjournment

which is necessary to provide reasonable time for effective preparation. The Court further finds

that in the interests of justice the time between September 8, 2022 and the new trial date of January

3, 2023 should be excluded from the 70-day calculation under the Speedy Trial Act. See 18 U.S.C.

§ 3161(h)(7)(A), (B)(iv).
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        Accordingly, it is ORDERED that the motion filing deadline is extended to November 7,

2022.

        It is further ORDERED the plea agreement deadline is extended to December 15, 2022.

        It is further ORDERED that the parties must appear for a final pretrial conference on

December 15, 2022 at 1:00 p.m.

        It is further ORDERED that the jury trial will begin on January 3, 2023 at 8:30 a.m.

        It is further ORDERED that the time between September 8, 2022 and the new trial date of

January 3, 2023 shall be EXCLUDED from the 70-day calculation under the Speedy Trial Act,

because the failure to grant the stipulated adjournment would deny the parties’ counsel the

reasonable time necessary for effective preparation. 18 U.S.C. § 3161(h)(7)(B)(iv).

                                                           s/David M. Lawson
                                                           DAVID M. LAWSON
                                                           United States District Judge

Dated: September 8, 2022




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